i           Case 2:21-cv-02927-CAS-PD   Document 19-1
                                              #:1826
                                                         Filed 04/06/21   Page 1 of 3 Page ID


                                                                          ~o~Eo
       1
      2                                                              ZO?I AP~t -6 PM 2= 22
      3                                                              F             . r. ,
                                                                                   , : b~
                                                                                 z,~~.

      4
                                                                                   ~        __ __
      5
      6
      7
      8                           UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
      9
     10                                    Western Division

    11        SECURITIES AND EXCHANGE                   Case No. 2:21-cv-02927-CAS-GJSX
    12        COMMISSION,
                                                         PROPOSED]~ ORDER RE
    13                    Plaintiff,                     LAINTIFF SECURITIES AND
                                                        EXCHANGE COMMISSION'S EX
    14              vs.                                 PARTS APPLICATION TO UNSEAL
                                                        THE COMPLAINT AND ASSET
    15        ZACHARY J. HORWITZ; AND                   FREEZE APPLICATION
    16        IINMM CAPITAL, LLC,

    17                    Defendants,

    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    f►~:~
     Case 2:21-cv-02927-CAS-PD     Document 19-1         Filed 04/06/21   Page 2 of 3 Page ID
                                         #:1827



 1         Plaintiff Securities and Exchange Commission("SEC"), having applied for an
 2 order directing that all pleadings and other documents filed with the Court in the
 3 above-captioned case be unsealed, and good cause appearing therefore,
 4         IT IS HEREBY ORDERED that the entire file and the docket in this action
 5   be sealed, and that all documents submitted to the Court in this action, including,
 6         •      The SEC's Application to Seal and the proposed Sealing Order;
 7         •      the SEC's Complaint;
 8         •      Civil Cover Sheet;
 9        •       Summons;
10         •     the SEC's Ex Pane Application for Orders(1)Freezing Assets;(2)
11               Requiring Accountings;(3)Prohibiting Destruction of Documents; and
12              (4)To Set a Hearing on an Order to Show Cause;
13        •      the SEC's Memorandum ofPoints and Authorities in Support of its Ex
14               Parte Application for Orders(1)Freezing Assets;(2)Requiring
15               Accountings;(3)Prohibiting Destruction of Documents; and (4)To Set a
16               Hearing on an Order to Show Cause;
17        •      the Declaration ofLance Jasper in Support ofthe SEC's Ex Parte
18               Application for Orders(1)Freezing Assets;(2)Requiring Accountings;
19              (3)Prohibiting Destruction ofDocuments; and (4)To Set a Hearing on
20               an Order to Show Cause;
21        •      the Declaration of Lorraine Pearson in Support of the SEC's Ex Pane
22               Application for Orders(1)Freezing Assets;(2)Requiring Accountings;
23              (3)Prohibiting Destruction of Documents; and (4)To Set a Hearing on
24               an Order to Show Cause;
25        •      the Declaration of Patrick Younan;
26        •      the Declaration of James Russell;
27        •      the Declaration of Melinda LeMoine;
28        •      the Declaration of Brett Cravatt;

                                                     1
      Case 2:21-cv-02927-CAS-PD   Document 19-1      Filed 04/06/21   Page 3 of 3 Page ID
                                        #:1828



 1          •     the Declaration of Jacob Wunderlin
 2          •     the Declaration of Joseph deAlteris
 3          •     the Declaration of Matthew Schweinzger; and
 4          •     the [Proposed] Order:(1)Freezing Assets;(2)Requiring Accountings;
 5               (3)Prohibiting Destruction ofDocuments; and (4)To Set a Hearing on
 6                an Order to Show Cause.
 7
 8          IT IS SO ORDERED.
 9
10 Dated:                 .2021
                                                 THE HON. CHRISTINA A. SNYDER
11                                               UNITED STATES DISTRICT JUDGE
12
   Presented by
13 Kathryn C. Wanner
   M. Lance Jasper
14 Attorneys for Plaintiff
   Securities and Exchange Commission
15
16~
17
18
19
20
21
22
23
24
25
26
27
28

                                                 2
